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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 NANCY RINEHART, individually and on          CASE NO. 3:16-CV-05128-MAS-
 behalf of all others similarly situated,     LHG

             Plaintiff,

 v.

 AS AMERICA, INC. d/b/a American
 Standard, a Delaware corporation and
 SAFETY TUBS COMPANY, LLC, a
 Delaware limited liability company,

               Defendants.


      MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
        FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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       Settlement Class Representative Nancy Rinehart (“Plaintiff” or “Rinehart”),

 by and through Settlement Class Counsel, respectfully submits this Memorandum

 of Law in Support of her Motion for Final Approval of the Class Action Settlement

 between Plaintiff and Defendants AS America, Inc. d/b/a American Standard and

 Safety Tubs Company, LLC (collectively the “Defendants”) that received

 preliminary approval on March 26, 2018.

 I.    INTRODUCTION

       Rinehart initiated this lawsuit challenging Defendants’ telemarketing

 activities—specifically, autodialed calls that Defendants placed to advertise their

 walk-in bathtubs—under the Telephone Consumer Protection Act, 47 U.S.C. §

 227, et seq. and its implementing regulations, 47 C.F.R. § 64.1200, et seq. (the

 “TCPA” or the “Act”). Plaintiff alleged that Defendants violated the TCPA in two

 key ways: (1) first, by using an autodialer to place calls to cellular telephones en

 masse without prior express consent1, and (2) second, by repeatedly calling

 telephone numbers registered on the National Do Not Call Registry.

       Following the exchange of informal discovery, including the disclosure of

 data regarding the size and scope of the alleged classes, the Parties engaged in

 extensive arm’s length settlement negotiations overseen by a respected retired

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  Informal discovery exchanged between the Parties identified a website,
 www.contractorlink.net, that Defendants used to obtain Plaintiff’s and the Classes’
 phone numbers. Plaintiff claimed that the consent language on the website failed to
 comport with the requirements of 47 C.F.R. § 64.1200, et seq.

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 federal magistrate judge, the Honorable John Hughes (Ret.) of JAMS. The

 Settlement discussions were hard-fought, adversarial and resolution was by no

 means certain. Defendants made clear that they would contest and vigorously

 defend the litigation.

       Following two full-day mediation sessions with Magistrate Judge Hughes, as

 well as post-mediation talks and negotiations, the Parties were ultimately able to

 reach an agreement in principal on the terms of a demonstrably strong settlement.

       The Settlement Agreement (“Settlement” or “Agreement”) was presented to

 the Court and received preliminary approval in accordance with Fed. R. Civ. P.

 23(a) and (b)(3) on March 26, 2018. (Dkt. 24.) Pursuant to the Agreement,

 Defendants are to establish a Settlement Fund totaling six hundred thousand dollars

 ($600,000.00 USD) from which Settlement Class Members who submit valid

 claims may elect to receive a cash payment of up to $1,000 or a certificate to be

 used towards Safety Tubs’s products worth up to $2,000.

       Following the entry of the Preliminary Approval Order, the Settlement

 Administrator directed notice to the class. The response has been overwhelmingly

 positive. There have been 24 timely claim forms submitted, with 6 weeks to go

 until the September 3, 2018 claims deadline. No objections have been filed with

 the Court, nor has any class member requested to be excluded.

       As such, and as set forth more fully below, class members who file claims



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 will each receive $1,000 cash payments or $2,000 certificates—an outstanding

 result for a TCPA class action settlement. Accordingly, Rinehart now moves, for

 final approval of the Settlement Agreement and respectfully requests that the Court

 grant Final Approval.

 II.   TERMS OF THE SETTLEMENT

       The central terms of the Settlement are as follows:

       A.     Class Definition.

       The “Settlement Class” is defined as: all persons in the United States who

 (1) from a date four years prior to the filing of this Complaint until the date notice

 is disseminated to the Class, (2) were called by Defendants (or any third-party

 acting on behalf of Defendants), (3) on the persons’ cellular telephones, (4) for the

 purpose of selling Defendants’ products or services, and (5) had their lead

 information obtained by Defendants via the contractorlink.net website. (Settlement

 Agreement ¶ 1.7.)

       B.     Monetary Relief.

       The Settlement provides Class Members who file claims a choice regarding

 the type of relief they will receive. Specifically, Defendants have agreed to provide

 to each Class Member who files a claim either a cash payment in the amount of

 $1,000 or a certificate for $2,000 worth of Safety Tubs’s products—Settlement

 Class Members need only check a box indicating which type of relief they prefer.



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  Defendants’ obligation is capped at $600,000.00 total (“Settlement Fund”). (Id. ¶

  2.1.) That is, if the total amount required to pay each approved claim would exceed

  the amount in the Settlement Fund after payment of settlement administration

  expenses (which will be $12,507), the court-approved incentive award to Nancy

  Rinehart for her service as the Class Representative, and any reasonable attorneys’

  fees awarded to proposed Class Counsel, then each Settlement Class Member with

  an approved claim will receive a pro rata share of the amount of the settlement

  fund remaining after payment of such amounts. (Id.)

          C.    Prospective Relief.

          Defendants further agree that they shall affirmatively use commercially

  reasonable efforts to, on or before the Effective Date and continuing for a period of

  eighteen (18) months from the Effective Date, procure express written consent

  from each person they intend to place promotional telephone calls to using an

  ATDS using language that tracks the TCPA’s implementing Regulations. (Id. ¶

  2.2.)

          D.    Release of Liability.

          In exchange for the relief described above, Defendants and their related and

  affiliated entities will receive a full release of any claims relating to telephone calls

  placed to Class Members whose lead information was procured via the

  contractorlink.net website. (Id. ¶¶ 3.1-3.4.)



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         As explained below, such terms are plainly favorable to the Class, and the

  Court should grant preliminary approval to the instant Agreement.

  III.   THE SETTLEMENT ADMINISTRATOR HAS DISSEMINATED
         THE CLASS NOTICE.

         The notice program approved by the Court has been, and continues to be,

  implemented by the Parties and the Court-approved Settlement Administrator in

  accordance with the Settlement Agreement. (See Declaration of Jeff Mitchell,

  Project Manager with Settlement Administrator Analytics Consulting, LLC, a true

  and accurate copy of which is submitted herewith and attached as Exhibit A.)

         On January 16, 2018, the Settlement Administrator received the list of class

  member telephone data consisting of 384 unique telephone numbers. (Mitchell

  Decl. ¶ 7.) From that list, the Settlement Administrator conducted a reverse look-

  up to verify the names, addresses, and phone numbers—this process updated the

  mailing addresses for 37 records. (Mitchell Decl. ¶ 8.) The addresses of the 384

  Settlement Class Members were standardized and updated using the National

  Change of Address database prior to mailing. (Id. ¶ 9.) On April 27, 2018, the

  Notice and Claim Form was mailed by first class mail to the last known addresses

  of the 384 Class Members. (Id. ¶ 10.) As a result of the Notice Packet mailing, 66

  Notice Packets were returned as undeliverable. (Id. ¶ 12.) The Settlement

  Administrator ran skip traces for those Class Members whose Packets were

  returned undeliverable in a further attempt to locate these individuals—this process

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  located updated addresses for 8 Class Members and the Packets were re-mailed.

  (Id.) As such, in total, of the 384 cellular telephone owners and addresses

  identified in the class data, the Settlement Administrator successfully mailed or re-

  mailed notice to 326 class members, an 84.9% success rate.

        Also, on April 27, 2018, the Settlement Administrator established the

  settlement website, ASAmericaTCPASettlement.com. (Id. ¶ 11.) The Website

  includes general information about the Settlement including information about the

  legal rights and options of Settlement Class Members and associated deadlines and

  a claim portal. (Id. ¶ 11.)

        The claims deadline is September 3, 2018, and to date the Settlement

  Administrator has received 24 timely submitted claim forms from the 326 Class

  Members the Settlement Administrator was able to mail or re-mail Packets. (Id. ¶

  14.) This equates to a current claims rate of 7.36%, with nearly 6 weeks remaining

  in the claims period.

        Moreover, there has been no requests to opt-out or to be excluded.

  IV.   THE COURT SHOULD GRANT FINAL APPROVAL

        A.     Standard for Final Approval of a Class Action Settlement

        The decision whether to approve a class action settlement under Rule 23(e)

  is a matter of judicial discretion. In re Prudential Ins. Co. Am. Sales Practice Litig.

  Agent Actions, 148 F.3d 283, 299 (3d Cir. 1998) (quoting Girsh v. Jepson, 521



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  F.2d 153, 156 (3d Cir. 1975)). There is a strong presumption in favor of

  settlements in class actions and other complex cases where substantial judicial

  resources can be conserved by avoiding formal litigation. Ehrheart v. Verizon

  Wireless, 609 F.3d 590, 594-95 (3d Cir. 2010) (citation omitted).

        In evaluating a proposed class settlement, the Third Circuit requires that

  courts consider the following factors (“Girsh Factors”): (1) the complexity,

  expense and likely duration of the litigation; (2) the reaction of the class to the

  settlement; (3) the stage of the proceedings and the amount of discovery

  completed; (4) the risks of establishing liability; (5) the risks of establishing

  damages; (6) the risks of maintaining a class action through trial; (7) the ability of

  the defendant to withstand a greater judgment; (8) the range of reasonableness of

  the settlement fund in light of the best possible recovery; and (9) the range of

  reasonableness of the settlement fund in light of the attendant risks of litigation.

  Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). Applied here, the Girsh Factors

  plainly weigh in favor of approval of the Settlement.

        B.     The Settlement Satisfies the Girsh Factors

               1.     The Complexity, Expense, and Likely Duration of the Litigation
                      Favor Approval.

        Rinehart believes that her claims against Defendants have merit and that she

  could have obtained a judgment if the case were to have proceeded to trial. Yet it is

  apparent that Rinehart and the Class would still face a number of difficult

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  challenges if the litigation were to continue.

        Several of these challenges are grounded in the Parties’ competing

  interpretations of what constitutes “prior express consent” under the TCPA, how

  prior express consent was supposedly obtained here, and the type of consent

  (written or oral) that was required under the circumstances.

        Defendants acquired class members’ telephone numbers from submissions

  on a website known as contractorlink.net. The website allowed consumers to

  submit their contact information to receive calls about Defendants’ products.

  Rinehart alleges that the website through which Defendants’ obtained the

  telephone numbers did not have the written disclosures pertaining to automated

  calls as required by the TCPA and the Federal Communication Commission

  (“FCC”). That is, in 2012, the FCC issued a rule requiring businesses to obtain

  prior express written consent before placing telemarketing calls. 47 C.F.R. §

  64.1200 (a)(3). Under the regulation, “prior express written consent” means:

        [A]n agreement, in writing, bearing the signature of the person called
        that clearly authorizes the seller to deliver or cause to be delivered to
        the person called advertisements or telemarketing messages using an
        automatic telephone dialing system or an artificial or prerecorded
        voice, and the telephone number to which the signatory authorizes
        such advertisements or telemarketing messages to be delivered.

  Id. at § 64.1200(f)(8). The FCC explained that “[o]nce our written consent rules

  become effective . . . an entity will no longer be able to rely on non-written forms

  of express consent to make autodialed or prerecorded voice telemarketing calls,

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  and thus could be liable for making such calls absent prior written consent.” In re

  Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

  27 FCC Rcd. 1830, 1857 ¶ 68 (Feb. 15, 2012). This 2012 FCC Order took effect on

  October 16, 2013. See Soular v. N. Tier Energy LP, Civil No. 15-CV-556

  (SRN/LIB), 2015 WL 5024786, at *7 (D. Minn. Aug. 25, 2015). Defendants

  contest this argument and insist that its website disclosures met all FCC

  requirements.

        Plaintiff also alleged that the calls were placed using an automatic telephone

  dialing system (“ATDS”), another point Defendants dispute. Whether the software

  and hardware used to make these messages qualify as ATDS is a complex question

  of fact and law, the resolution of which carries uncertainties for both sides. See,

  e.g., Dominguez v. Yahoo, Inc., 629 Fed. Appx. 369, 373 (3rd Cir. 2015)

  (“[R]emand is appropriate to allow that Court to address more fully in the first

  instance whether Yahoo’s dialing equipment meets the statutory definition [of

  ATDS]”); see also ACA Int'l v. Fed. Commc'ns Comm'n, 885 F.3d 687 (D.C. Cir.

  2018).

        Absent a settlement, these questions would be left to the Court and the trier

  of fact. Appeal(s) to the Third Circuit following unfavorable rulings would be

  likely. While Plaintiff believes that the facts and law are squarely on her side,

  success is far from certain and relief to the Settlement Class, absent this settlement,



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  was not guaranteed. Thus, resolution of this case without the instant Settlement

  would be a complex and expensive endeavor likely lasting years, favoring

  approval.

               2.    The Reaction of the Class to the Settlement

        The reaction of the Settlement Class has been positive. No Class Member

  requested to be excluded and no objections were filed. See In re Cendant Corp.

  Litig., 264 F.3d 201, 234-35 (3d Cir. 2001) (affirming district court’s conclusion

  that the class’ reaction was “extremely favorable” where 478,000 notices were

  sent, 4 objections were made, and 234 class members opted out); see also Stoetzner

  v. U.S. Steel Corp., 897 F.2d 115, 118-19 (3d Cir. 1990) (holding that “only” 29

  objections in 281 member class “strongly favors settlement”); see also Bell Atl.

  Corp. v. Bolger, 2 F.3d 1304, 1313-14 (3d Cir. 1993) (“Less than 30 of

  approximately 1.1 million shareholders objected. . . . This small proportion of

  objectors does not favor derailing settlement.”); see also In re Rite Aid Corp. Sec.

  Litig., 396 F.3d 294, 305 (3d Cir. 2005) (fact that only two class members objected

  out of 300,000 weighed in favor of requested fee award).

        The lack of opt-outs and objections stands in stark contrast to the number of

  claims filed. As noted above, the Claims Administrator has received 24 claims as

  of the date of the filing of this Motion. Each of these claims represents an

  affirmative vote in favor of the Settlement. When considered against the total



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  number of notices sent, the claims rate in this case (currently 7.36% with

  approximately 6 weeks to go until the September 3, 2018 claims deadline) is above

  the rates seen in typical consumer class action settlements. See In re TJX Cos.

  Retail Sec. Breach Litig., 584 F. Supp. 2d 395, 397, 406 (D. Mass. 2008)

  (approving settlement with response rate of slightly more than 3%); see also In re

  Compact Disc Minimum Advertised Price Antitrust Litig., 370 F. Supp. 2d 320,

  321 (D. Me. 2005) (noting prior approval of settlement with 2% claim rate); see

  also Strong v. BellSouth Telcoms., Inc., 173 F.R.D. 167, 169, 172 (W.D. La. 1997)

  (4.3% claim rate); see also Forcellati v. Hyland’s Inc., No. CV 12-1983-GHK

  (MRWx), 2014 WL 1410264, at *6 (C.D. Cal. Apr. 9, 2014) (“[T]he prevailing

  rule of thumb with respect to consumer class actions is [a claims rate of] 3-5

  percent.”); see also Ferrington v. McAfee, Inc., No. 10-CV-01455-LHK, 2012 WL

  1156399, at *4 (N.D. Cal. Apr. 6, 2012) (same); see also Gascho v. Global Fitness

  Holdings, LLC Eyeglasses, Nos. 14-3761, 14-3798, 2016 WL 2802473, at *18 (6th

  Cir. 2016) (an 8% response rate ““was well within the acceptable range for a

  consumer class action.”).

        Hence, the number of claims filed—especially when compared to the lack of

  opt-outs and objections—supports approval of the Settlement. See In re Cendant

  Corp. Litig., 264 F.3d at 234-35 (class reaction favored approval where “the

  number of objectors was quite small in light of the number of notices sent and



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  claims filed”).

               3.     The Stage of the Proceedings and the Amount of Discovery
                      Completed

        The third Girsh factor—which analyzes the stage of the proceedings and the

  amount of discovery completed—also favors granting final approval here. While

  the parties were able to reach a settlement without undue delay, the matter was ripe

  for Settlement. That is, all parties sought, and disclosed, ample evidence (related to

  merits, class issues, and damages) in informal discovery and through the mediation

  process so as to allow Settlement Class Counsel to make an informed decision

  during the negotiations.

        The settlement discussions were adversarial, arm’s-length and conducted

  before a retired and respected jurist. It is Class Counsel’s professional judgment,

  based on the size of the class, the risks in establishing liability and maintaining the

  action as a class action, that Settlement now, at this stage, is the best option for the

  Settlement Class. No amount of additional discovery or litigation would produce

  more in recovery to the Settlement Class.

               4.     The Risks of Establishing Liability and Damages Also Support
                      Approval of the Settlement

        The fourth and fifth Girsh Factors—the risks of establishing liability and

  damages— further demonstrate the fairness and reasonableness of the Settlement.

  As noted in the discussion of the first Girsh factor, although Rinehart believes her



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  claims are factually and legally strong, she would have faced significant risks in

  litigating the claims as Defendants had several potentially persuasive legal

  defenses. This is further buoyed by the decision in ACA Int’l v. FCC, which

  arguably altered the legal landscape of the TCPA by making it more difficult to

  prove an ATDS was used. By entering into the Settlement now, Plaintiff and

  Settlement Class Members have hedged against these risks and locked in

  significant benefits.

        Additionally, at least some courts view awards of aggregate, statutory

  damages with skepticism and reduce such awards—even after a plaintiff has

  prevailed on the merits—on due process or other constitutional grounds. See, e.g.,

  Dennis v. Trans Union, LLC, Civil Action No. 14-2865, 2014 WL 5325231, at *8

  n.7 (E.D. Pa. Oct. 20, 2014) (noting, but not deciding, a due process challenge to

  statutory damages which could result in, according to the defendant, “crushing

  liability”); see also Aliano v. Joe Caputo & Sons—Algonquin, Inc., No. 09 C 910,

  2011 WL 1706061, at *4 (N.D. Ill. May 5, 2011) (“[T]he Court cannot fathom how

  the minimum statutory damages award for willful FACTA violations in this case—

  between $100 and $1,000 per violation—would not violate Defendant’s due

  process rights . . . . Such an award, although authorized by statute, would be

  shocking, grossly excessive, and punitive in nature.”). As such, Plaintiff could win

  only to have her award significantly reduced.



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           Finally, there is a risk of losing a jury trial and/or an appeal. The Settlement

  accounts for these risks and provides substantial relief to Class Members without

  delay.

                 5.     The Risks of Maintaining the Class Action Through Trial

           In addition to these risks on the merits, class certification was not guaranteed

  either. Although this Court certified a class for settlement purposes, “[t]he

  requirements for class certification are more readily satisfied in the settlement

  context than when a class has been proposed for the actual conduct of the

  litigation.” White v. Nat’l Football League, 822 F. Supp. 1389, 1402 (D. Minn.

  1993) (citations omitted); see also Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

  620, 117 S. Ct. 2231 (1997) (“Confronted with a request for settlement-only class

  certification, a district court need not inquire whether the case, if tried, would

  present intractable management problems . . . for the proposal is that there be no

  trial.”); see also Sullivan v. DB Investments, Inc., 667 F.3d 273, 303 (3d Cir. 2011)

  (en banc). Thus, merely because a settlement class has been certified does not

  necessarily mean that a class would be certified following adversarial briefing.

           Indeed, class certification is not automatic in TCPA cases. Compare, e.g.,

  Vigus v. S. Ill. Riverboat/Casino Cruises, Inc., 274 F.R.D. 229, 235 (S.D. Ill. 2011)

  (refusing to certify TCPA class where the “proposed class includes a substantial

  number of people who voluntarily gave their telephone numbers to the



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  [defendant]”), and Versteeg v. Bennett, Deloney & Noyes, P.C., 271 F.R.D. 668,

  674 (D. Wyo. 2011) (declining to certify TCPA class in light of individualized

  inquiry “into whether each individual gave ‘express consent’ by providing their

  wireless number”) (internal citations omitted), with Green v. Serv. Master, No. 07

  C 4705, 2009 WL 1810769, at *2 (N.D. Ill. June 22, 2009) (“[T]he question of

  consent may rightly be understood as a common question and the possibility that

  some class members may have consented is not sufficient to defeat class

  certification.”) (internal citations omitted), and Saf-T-Gard Int’l, Inc. v. Wagener

  Equities, Inc., 251 F.R.D. 312, 315 (N.D. Ill. 2008) (holding that where “some

  number of faxes were sent on defendant’s behalf (with or without defendant’s

  explicit authorization), potentially to tens of thousands of recipients . . . reflects

  precisely the type of ‘organized program’ that lends itself to a common

  adjudication of the consent issue” (internal citations omitted)), and Agne v. Papa

  John’s Int’l., Inc., 286 F.R.D. 559, 567 (W.D. Wash. 2012) (“Defendants’

  speculation that customers may have given their express consent to receive text

  message advertising is not sufficient to defeat class certification.”).

        If the Court were to reject certification in this case, there would be no relief

  for any class member except for Rinehart, regardless of the merits of the

  underlying claims. Because of this (admittedly minimal) risk—and because this

  action was never certified as a class action for litigation purposes—this Girsh



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  Factor also favors approval of the Settlement.

               6.     The Ability of the Defendant to Withstand a Greater Judgment

        Defendants are of substantial size and, given the relatively small size of the

  Class at issue, would have the ability to withstand a judgment. Importantly here,

  however, the amount available to Class Members—$1,000 cash or a $2,000

  certificate—is actually more than the $500 statutory award available for a TCPA

  violation in cases where willfulness is not shown (a tough barrier in any case). And

  the ability to withstand a greater judgment is not a sufficient basis (by itself) to

  deny settlement approval in any case. See Yang Soon Oh v. AT&T Corp., 225

  F.R.D. 142, 150-51 (D.N.J. 2004); In re Schering-Plough Corp. Enhance ERISA

  Litig., Civil Action No. 08-1432 (DMC)(JAD), 2012 WL 1964451, at *5 (D.N.J.

  May 31, 2012). As a practical matter, Defendants were not willing or able to pay

  more to settle the case, would have paid nothing if it prevailed, and the results

  obtained here are likely higher than what each Class Member would have received

  at trial. This factor weighs in favor of final approval.

               7.     The Range of Reasonableness of the Monetary Relief in Light of
                      the Best Possible Recovery and the Attendant Risks of
                      Litigation

        The final Girsh Factors (the range of reasonableness of the monetary relief

  in light of the best possible recovery and all the attendant risks of litigation) also

  support approval of the Settlement.



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         Under the Settlement, every Class Member who submitted a timely and

  valid claim will receive a pro rata share of the net Settlement Fund ($600,000) not

  to exceed $1,000 for cash claimants or $2,000 for certificate claimants. Given the

  number of claims filed and the circumstances of the claimants, each class member

  will receive the full amount of their claim, either $1,000 cash or a $2,000

  certificate.

         This amount exceeds the $500 per call allowable under the TCPA in cases

  where willfulness has not been established. Full relief is neither a prerequisite to

  class settlement approval nor is it realistic. As one court recently noted “[t]he

  essential point here is that the court should not reject a settlement solely because it

  does not provide a complete victory to plaintiffs, for the essence of settlement is

  compromise.” Here, as in Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 228

  (N.D. Ill. 2016), Class Members receive “a payout without having suffered

  anything beyond a few unwanted calls or texts, they receive it (reasonably)

  quickly, and they receive it without the time, expense, and uncertainty of litigation.

  [Defendants’], for its part, buys peace and mitigates risk.” Id.

         Further, the amounts recovered are undoubtedly reasonable, fair, adequate,

  and consistent with other TCPA settlements: See, e.g., Gehrich, supra; see also

  Rinky Dink v. Elec. Merchant Sys., et al., 13-cv-01347, Doc. No. 151 (W.D. Wash.

  Apr. 19, 2016) (approving awards in a TCPA action of approximately $97 per class



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  member); see also Estrada v. iYogi, Inc., CIV. NO. 2:13-01989 WBS CKD, 2015

  WL 5895942, at *7 (E.D. Cal. Oct. 6, 2015) (granting preliminary approval to

  TCPA settlement where class members estimated to receive $40); see also

  Steinfeld v. Discover Fin. Servs., 12-cv-1118, Doc. No. 96 at ¶ 6 (N.D. Cal., Mar.

  10, 2014) (claimants received $46.98 each); see also Adams v. AllianceOne

  Receivables Mgmt., Inc., 08-cv-00248, Doc. No. 137 (S.D. Cal., Sept. 28, 2012)

  (claimants received $40 each). As such, the Settlement provides monetary benefits

  that greatly exceed other TCPA class action settlements in addition to meaningful

  non-monetary relief.

  V.    CONCLUSION

        For the reasons set forth above, Rinehart respectfully requests that the Court

  grant final approval of the Settlement Agreement.



  Dated: July 20, 2018                  Respectfully submitted,

                                        Nancy Rinehart, individually and on behalf
                                        of all others similarly situated,

                                        By: s/Patrick H. Peluso
                                        One of Plaintiff’s Attorneys

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                            CERTIFICATE OF SERVICE

        The undersigned certifies that, on July 20, 2018, I caused this document to

  be electronically filed with the Clerk of the Court using the CM/ECF system,

  which will send a notification of filing to all counsel of record for each party.



                                          s/ Stefan Coleman




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